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                                                                          5                     IN THE UNITED STATES DISTRICT COURT
                                                                          6                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                              IN RE: CATHODE RAY TUBE (CRT)           )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                    )
                                                                                                                      )   No. CV-07-5944-SC
                                                                          9                                           )
                                                                                                                      )   ORDER ON CONDITIONAL
                                                                         10   This Order Relates To:                  )   OBJECTIONS RE ATTORNEY FEES
                               For the Northern District of California
United States District Court




                                                                                                                      )   AND VACATING HEARING ON
                                                                         11                                           )   PRELIMINARY APPROVAL OF
                                                                              ALL INDIRECT PURCHASER ACTIONS          )   INDIRECT PURCHASER CLASS
                                                                         12                                           )   SETTLEMENTS
                                                                                                                      )
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                                                                         16        The Court now considers submissions by certain Plaintiffs'
                                                                         17   counsel, styled as "conditional objection[s]."         ECF Nos. 3874,
                                                                         18   3880, 3896 (responding to, respectively, ECF Nos. 3875, 3884,
                                                                         19   3895).   These submissions do not appear to be objections to the
                                                                         20   proposed preliminary approval of the settlements submitted by
                                                                         21   counsel for the indirect purchaser class, but are simply
                                                                         22   anticipated objections to the allocations of attorney fees among
                                                                         23   plaintiffs’ counsel.    The objections are DENIED WITHOUT PREJUDICE
                                                                         24   at this time.   The issue of attorney fees will be taken up at or
                                                                         25   after the time the Court considers final approval of the indirect
                                                                         26   purchaser class settlements.
                                                                         27        Indirect purchaser class counsel are DIRECTED to amend the
                                                                         28   class notice and proposed order preliminarily approving the
                                                                               Case 3:07-cv-05944-JST Document 3903 Filed 07/08/15 Page 2 of 2




                                                                          1   indirect purchaser class settlement to make clear that the total
                                                                          2   attorney fee request in this litigation for all plaintiffs’ counsel
                                                                          3   shall not exceed one-third of the combined settlement fund of
                                                                          4   $576,750,000.
                                                                          5        The motion for preliminary approval of class action is
                                                                          6   appropriate for decision without oral argument per Civil Local Rule
                                                                          7   7-1(b).   The hearing for the preliminary approval of class action
                                                                          8   is therefore VACATED.
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                               For the Northern District of California
United States District Court




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                                                                                   Dated: July __, 2015            _____________________________
                                                                         13                                        UNITED STATES DISTRICT JUDGE
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